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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE


  Donna Kolodzieski,                               Civil Action No. 17-1702

                           Plaintiff,


            – against–                             NOTICE OF SETTLEMENT



  Capital One Bank (USA), National
  Association, Experian Information Solutions,
  Inc., TransUnion, LLC and Equifax
  Information Services, LLC,

                           Defendant(s).



       Plaintiff Donna Kolodzieski respectfully submits this Notice of Settlement to inform the

Court as follows:

       1. Plaintiff and Defendant Trans Union, LLC (“Trans Union”) have reached an

           agreement in principle and are in the process of finalizing a confidential settlement

           agreement.

       2. Plaintiff will file a Stipulation of Dismissal once the terms of the settlement

           agreement have been completed.

       3. Accordingly, Trans Union requests excusal from any upcoming filing or appearances

           requirements.

       4. This notice of settlement has no effect on any other Defendant in this action.

Dated: March 21, 2018


                                             Respectfully Submitted,
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                                  GARIBIAN LAW OFFICES, P.C.

                                  /s/ Antranig Garibian
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                                  Counsel for Plaintiff
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                              CERTIFICATE OF SERVICE

            I, Antranig Garibian, Esq., hereby certify that a copy of the Notice of Settlement
    between Plaintiff and Defendant Trans Union has been filed electronically. Notice of this
    filing will be sent to all parties by operation of the Court’s electronic filing system. Parties
    may access this filing through the Court’s electronic filing.



                                    Respectfully submitted,

                                    s/ Antranig N. Garibian____
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